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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
          v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

                    SUPPLEMENT TO PLAINTIFFS’ OPPOSITION TO
               MOTION TO EXCLUDE OPINION TESTIMONY OF ADORIA LIM
                             TO CORRECT EXHIBIT B

          Plaintiffs make the following correction to exhibits in their Opposition to Defendant’s

  Motion to Exclude Opinion Testimony of Adoria Lim, ECF No. 647.

          Plaintiffs inadvertently omitted the relevant errata from Exhibit B. A redacted set of

  errata for Exhibit B is attached, and an unredacted version is being submitted under seal in a

  separate filing.
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  Dated: May 30, 2024

  Respectfully submitted,

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